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                                                                      APPEAL,MANDAMUS,TYPE−L
                                   U.S. District Court
                        District of Columbia (Washington, DC)
                  CIVIL DOCKET FOR CASE #: 1:19−cv−02399−RDM

MCCABE v. BARR et al                                         Date Filed: 08/08/2019
Assigned to: Judge Randolph D. Moss                          Jury Demand: None
Cause: 28:1361 Petition for Writ of Mandamus                 Nature of Suit: 440 Civil Rights: Other
                                                             Jurisdiction: U.S. Government Defendant
Plaintiff
ANDREW G. MCCABE                               represented by Murad Hussain
                                                              ARNOLD & PORTER KAYE SCHOLER
                                                              LLP
                                                              601 Massachusetts Ave, NW
                                                              Washington, DC 20001
                                                              (202) 942−6143
                                                              Fax: (202) 942−5999
                                                              Email: murad.hussain@apks.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
WILLIAM P. BARR                                represented by Justin Michael Sandberg
in his official capacity as Attorney                          U.S. DEPARTMENT OF JUSTICE
General                                                       Civil Division, Federal Programs Branch
                                                              1100 L Street, NW
                                                              Room 11004
                                                              Washington, DC 20005
                                                              (202) 514−5838
                                                              Fax: (202) 616−8202
                                                              Email: justin.sandberg@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Defendant
U.S. DEPARTMENT OF JUSTICE                     represented by Justin Michael Sandberg
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Defendant
CHRISTOPHER A. WRAY                            represented by Justin Michael Sandberg
in his official capacity as Director of the                   (See above for address)
Federal Bureau of Investigation                               LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

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Defendant
FEDERAL BUREAU OF                            represented by Justin Michael Sandberg
INVESTIGATION                                               (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

Movant
DAVID ANDREW CHRISTENSON                     represented by DAVID ANDREW CHRISTENSON
TERMINATED: 08/16/2019                                      P.O. Box 9063
                                                            Miramar Beach, FL 32550
                                                            PRO SE


Date Filed   #   Page Docket Text
08/08/2019   1        COMPLAINT against WILLIAM P. BARR, FEDERAL BUREAU OF
                      INVESTIGATION, U.S. DEPARTMENT OF JUSTICE, CHRISTOPHER A.
                      WRAY ( Filing fee $ 400 receipt number 0090−6309806) filed by Andrew G.
                      McCabe. (Attachments: # 1 Exhibit A, # 2 Civil Cover Sheet, # 3 Notice of
                      Other Cases, # 4 Summons, # 5 Summons, # 6 Summons, # 7 Summons, # 8
                      Summons)(Hussain, Murad) (Attachment 2 replaced on 8/8/2019) (zeg).
                      (Attachment 3 replaced on 8/8/2019) (zeg). (Entered: 08/08/2019)
08/08/2019   2        NOTICE OF RELATED CASE by ANDREW G. MCCABE. (zeg) (Entered:
                      08/09/2019)
08/09/2019   3        SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed
                      by ANDREW G. MCCABE (This document is SEALED and only available to
                      authorized persons.) (Attachments: # 1 Exhibit A)(Hussain, Murad) (Entered:
                      08/09/2019)
08/09/2019            Case Assigned to Judge Randolph D. Moss. (zeg) (Entered: 08/09/2019)
08/09/2019   4        SUMMONS (5) Issued Electronically as to WILLIAM P. BARR, FEDERAL
                      BUREAU OF INVESTIGATION, U.S. DEPARTMENT OF JUSTICE,
                      CHRISTOPHER A. WRAY, U.S. Attorney and U.S. Attorney General
                      (Attachment: # 1 Notice and Consent)(zeg) (Entered: 08/09/2019)
08/09/2019   5        STANDING ORDER: The parties are hereby ORDERED to comply with the
                      directives set forth in the attached Standing Order. See document for details.
                      Signed by Judge Randolph D. Moss on 8/9/2019. (lcrdm3, ) (Entered:
                      08/09/2019)
08/12/2019   6        MOTION to Intervene by DAVID ANDREW CHRISTENSON (Attachments: #
                      1 Attachments)(ztd) (Entered: 08/14/2019)
08/16/2019            MINUTE ORDER: Upon consideration of Plaintiff's Sealed Motion for Leave to
                      File Document Under Seal 3 , it is hereby ORDERED that the motion is
                      GRANTED. Plaintiff's Motion for Leave to File Document Under Seal 3 and all
                      supporting documents [3−1] shall both be docketed UNDER SEAL. Plaintiff
                      may file the motion attached as Exhibit A to the Motion for Leave to File
                      Document Under Seal 3 UNDER SEAL. Signed by Judge Randolph D. Moss on
                      8/16/19. (lcrdm3, ) (Entered: 08/16/2019)

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08/16/2019         MINUTE ORDER: Upon consideration of the Motion to Intervene 6 , it is
                   hereby ORDERED that the motion is DENIED. The motion does not provide
                   any legally cognizable basis upon which the movant should be permitted to
                   intervene in this action. Signed by Judge Randolph D. Moss on 8/16/19.
                   (lcrdm3, ) (Entered: 08/16/2019)
08/16/2019    7    SEALED MOTION filed by ANDREW G. MCCABE. (This document is
                   SEALED and only available to authorized persons.) (Attachments: # 1 Text of
                   Proposed Order)(ztd) (Entered: 08/16/2019)
08/19/2019    8    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                   WILLIAM P. BARR served on 8/19/2019; FEDERAL BUREAU OF
                   INVESTIGATION served on 8/16/2019; U.S. DEPARTMENT OF JUSTICE
                   served on 8/16/2019; CHRISTOPHER A. WRAY served on 8/16/2019,
                   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                   to the United States Attorney. Date of Service Upon United States Attorney on
                   8/19/2019. ( Answer due for ALL FEDERAL DEFENDANTS by 10/18/2019.)
                   (Attachments: # 1 Proof of service affidavits, # 2 USPS certified mail receipts, #
                   3 USPS website delivery verification)(Hussain, Murad) (Entered: 08/19/2019)
08/21/2019    9    NOTICE of Appearance by Justin Michael Sandberg on behalf of All
                   Defendants (Sandberg, Justin) (Entered: 08/21/2019)
08/22/2019   11    LEAVE TO FILE DENIED− David Andrew Christenson's Motion for
                   Reconsideration This document is unavailable as the Court denied its filing.
                   "Leave to File Denied." Signed by Judge Randolph D. Moss on 8/22/19. (ztd)
                   Modified to add text on 9/3/2019 (znmw). (Entered: 08/29/2019)
08/23/2019   10    RESPONSE re 7 SEALED MOTION filed by ANDREW G. MCCABE. (This
                   document is SEALED and only available to authorized persons.) filed by
                   WILLIAM P. BARR, FEDERAL BUREAU OF INVESTIGATION, U.S.
                   DEPARTMENT OF JUSTICE, CHRISTOPHER A. WRAY. (Sandberg, Justin)
                   (Entered: 08/23/2019)
08/23/2019         MINUTE ORDER: Upon consideration of Plaintiff's sealed motion 7 , it is
                   hereby ORDERED that the motion is GRANTED. Signed by Judge Randolph
                   D. Moss on 08/23/19. (lcrdm3, ) (Entered: 08/23/2019)
09/17/2019   12    LEAVE TO FILE DENIED− David Andrew Christenson's Amicus/Notice 66
                   This document is unavailable as the Court denied its filing. "Leave to File
                   Denied." Signed by Judge Randolph D. Moss on 9/17/19. (ztd) Modified on
                   9/26/2019 (znmw). (Entered: 09/20/2019)
09/20/2019   13    LEAVE TO FILE DENIED− David Andrew Christenson's Amicus − Note 68
                   This document is unavailable as the Court denied its filing. "Leave to File
                   Denied." Signed by Judge Randolph D. Moss on 9/20/19. (ztd) Modified date
                   filed and text on 9/26/2019 (znmw). (Entered: 09/25/2019)
10/04/2019   14    LEAVE TO FILE DENIED− David Andrew Christenson's Amicus Brief Notice
                   64 and 65 This document is unavailable as the Court denied its filing.. Signed by
                   Judge Randolph D. Moss on 10/4/19. (ztd) (Entered: 10/10/2019)
10/04/2019   16    LEAVE TO FILE DENIED− David Andrew Christenson's Amicus/Notice 67
                   This document is unavailable as the Court denied its filing.. Signed by Judge
                   Randolph D. Moss on 10/4/19. (ztd) (Entered: 10/10/2019)

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10/07/2019   15    LEAVE TO FILE DENIED− David Andrew Christenson's Notice 73, Amicus
                   Notice 74 and Amicus Notice 76 This document is unavailable as the Court
                   denied its filing.. Signed by Judge Randolph D. Moss on 10/7/19. (ztd) (Entered:
                   10/10/2019)
10/07/2019   17    NOTICE OF INTERLOCUTORY APPEAL as to 14 Leave to File Denied,
                   Order on Motion to Intervene, 12 Leave to File Denied, 16 Leave to File Denied
                   by DAVID ANDREW CHRISTENSON. Fee Status: No Fee Paid. Parties have
                   been notified. (ztd); ("Let It Be Filed" signed by Judge Randolph D. Moss on
                   10/7/19) (Entered: 10/10/2019)




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MIME−Version:1.0
From:DCD_ECFNotice@dcd.uscourts.gov
To:DCD_ECFNotice@localhost.localdomain
Bcc:
−−Case Participants: Murad Hussain (murad.hussain@apks.com,
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grace_leeper@dcd.uscourts.gov, grace_zhou@dcd.uscourts.gov,
harrison_stark@dcd.uscourts.gov, helen_white@dcd.uscourts.gov,
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−−No Notice Sent:

Message−Id:6157175@dcd.uscourts.gov
Subject:Activity in Case 1:19−cv−02399−RDM MCCABE v. BARR et al Order on Motion to
Intervene
Content−Type: text/html

                                           U.S. District Court

                                          District of Columbia

Notice of Electronic Filing


The following transaction was entered on 8/16/2019 at 9:39 AM and filed on 8/16/2019

Case Name:       MCCABE v. BARR et al
Case Number:     1:19−cv−02399−RDM
Filer:
Document Number: No document attached
Docket Text:
 MINUTE ORDER: Upon consideration of the Motion to Intervene [6], it is hereby ORDERED
that the motion is DENIED. The motion does not provide any legally cognizable basis upon
which the movant should be permitted to intervene in this action. Signed by Judge Randolph
D. Moss on 8/16/19. (lcrdm3, )


1:19−cv−02399−RDM Notice has been electronically mailed to:

Murad Hussain    murad.hussain@apks.com, murad.hussain@arnoldporter.com

1:19−cv−02399−RDM Notice will be delivered by other means to::

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